 Case 1:04-cr-00073-JCC Document 168 Filed 05/08/06 Page 1 of 10 PageID# 1



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA

                          Alexandria Division

LARRY TITTLE,                     )
                                  )
     Petitioner,                  )
                                  )
          v.                      )     Criminal Action No. 04-73
                                  )     Civil Action No. 05-983
UNITED STATES OF AMERICA,         )
                                  )
     Respondent.                  )

                 M E M O R A N D U M      O P I N I O N

          This matter is before the Court on Petitioner’s motion

to vacate, set aside, or correct his sentence pursuant to 28

U.S.C. § 2255.     For the following reasons, the Court will deny

Petitioner’s motion.

                             I.   Background

          On May 21, 2004, a federal grand jury returned a

superseding indictment charging Petitioner, Larry Tittle, with

conspiracy to distribute five (5) kilograms or more of cocaine in

violation of 21 U.S.C. § 846.      Petitioner initially entered a

plea of not guilty to this charge.       On October 14, 2004,

Petitioner withdrew his initial plea and pleaded guilty to a

criminal information charging him with the lesser offense of

conspiracy to distribute 500 grams or more of cocaine in

violation of 21 U.S.C. §§ 841(a)(1), 846.        This offense carried a

mandatory minimum sentence of sixty (60) months imprisonment.

See 21 U.S.C. § 841(b)(1)(B).
 Case 1:04-cr-00073-JCC Document 168 Filed 05/08/06 Page 2 of 10 PageID# 2



            Petitioner’s sentencing hearing was held on December

17, 2004.    At this hearing, the Court found Petitioner to be a

Category III offender with an adjusted offense level of twenty-

three (23).    The Court then sentenced Petitioner to sixty (60)

months imprisonment, the statutory mandatory minimum penalty.

Petitioner was represented by attorney Patrick Anderson

throughout the plea and sentencing proceedings.

            On November 28, 2005,1 Petitioner filed the instant

motion to vacate, set aside, or correct his sentence pursuant to

28 U.S.C. § 2255, alleging that he received ineffective

assistance of counsel.      Petitioner argues that his guilty plea

was unknowing and involuntary due to several alleged errors and

misrepresentations by Anderson.        Specifically, Petitioner claims

that Anderson failed to advise him of the elements the Government

was required to prove in order to convict Petitioner of

conspiracy.    Petitioner also contends that Anderson failed to

inform him of an available venue defense and failed to explain to


      1
       On August 10, 2005, Petitioner filed a motion titled a “Motion to Hear
Request for Public Defender.” Because the motion contained substantive
allegations of ineffective assistance of counsel, the Court construed the
motion as one pursuant to 28 U.S.C. § 2255, and the Government responded
accordingly. On October 20, 2005, Petitioner objected to the Court’s
characterization of his August 10, 2005 motion. After taking Petitioner’s
objections into account, the Court will reconsider its characterization of his
August 10, 2005 motion and therefore will not find the November 28, 2005
motion to be successively filed. It is unnecessary, however, for the Court to
order a second response from the Government, as the Government’s response to
the substantive allegations contained within Petitioner’s August 10, 2005
motion adequately addresses the grounds set forth in the motion currently
under consideration. Furthermore, as the Government’s response was filed on
October 17, 2005, and the instant motion was filed on November 28, 2005,
Petitioner has had an adequate opportunity to reply to the Government’s
response.

                                     -2-
 Case 1:04-cr-00073-JCC Document 168 Filed 05/08/06 Page 3 of 10 PageID# 3



Petitioner that his sentence would only take into account conduct

that was known or reasonably foreseeable to him.          Petitioner now

claims that he would not have pleaded guilty if he had been

informed of these defenses.      Petitioner’s motion is currently

before the Court.

                        II.   Standard of Review

          Under 28 U.S.C. § 2255, a person may attack his

sentence on four grounds: (1) that the sentence was imposed in

violation of the Constitution or the laws of the United States,

(2) that the court was without jurisdiction to impose the

sentence, (3) that the sentence was in excess of the maximum

authorized by law, or (4) that the sentence is otherwise subject

to collateral attack.     28 U.S.C. § 2255; see also Hill v. United

States, 368 U.S. 424, 426-27 (1962).       To prevail under

§ 2255, the movant bears the burden of proof by a preponderance

of the evidence.    Miller v. United States, 261 F.2d 546, 547 (4th

Cir. 1958).

          Claims of ineffective assistance of counsel may give

rise to a constitutional issue cognizable under 28 U.S.C. § 2255.

See United States v. Fisher, 477 F.2d 300, 302 (4th Cir. 1973).

To prove that ineffective assistance of counsel violates the

Sixth Amendment, a petitioner must satisfy a two-pronged test

established by the Supreme Court in Strickland v. Washington, 466

U.S. 668, 687 (1984).     See also Bell v. Evatt, 72 F.3d 421, 427


                                   -3-
 Case 1:04-cr-00073-JCC Document 168 Filed 05/08/06 Page 4 of 10 PageID# 4



(4th Cir. 1995), cert. denied sub nom. Bell v. Moore, 518 U.S.

1009 (1996).    A petitioner must show that “(1) his counsel’s

performance fell below an objective standard of reasonableness in

light of the prevailing professional norms, and (2) ‘there is a

reasonable probability that but for counsel’s unprofessional

errors, the result of the proceeding would have been different.’”

Bell, 72 F.3d at 427 (quoting Strickland, 466 U.S. at 688).            If a

petitioner fails to meet either requirement, his claim for

ineffective assistance of counsel fails.        Strickland, 466 U.S. at

697.    Furthermore, if a petitioner fails to make a sufficient

showing on one prong of the test, the Court is not obliged to

address the other prong.     Id. at 700.

            As to the first prong, “[j]udicial scrutiny of

counsel’s performance must be highly deferential.”          Id. at 689.

The Supreme Court has elaborated on the deference due to

counsel’s performance, explaining that:

       A fair assessment of attorney performance requires that
       every effort be made to eliminate the distorting
       effects of hindsight, to reconstruct the circumstances
       of counsel’s challenged conduct, and to evaluate the
       conduct from counsel’s perspective at the time.
       Because of the difficulties inherent in making the
       evaluation, a court must indulge a strong presumption
       that counsel’s conduct falls within the wide range of
       reasonable professional assistance; that is, the
       defendant must overcome the presumption that, under the
       circumstances, the challenged action might be
       considered sound trial strategy.

Id. (quotation marks and internal citations omitted).



                                   -4-
 Case 1:04-cr-00073-JCC Document 168 Filed 05/08/06 Page 5 of 10 PageID# 5



          Petitioner carries a heavy burden under the second

prong of the Strickland test.       The essence of the Sixth Amendment

guarantee is “to ensure that a defendant has the assistance

necessary to justify reliance on the outcome of the proceeding.”

Id. at 691-92.    In accord with this principle, Petitioner must

establish that any deficiency in counsel’s performance was

prejudicial to him.    Id. at 692.     Prejudice exists only where

“counsel’s unprofessional errors so upset the adversarial balance

between defense and prosecution that the trial was rendered

unfair and the verdict rendered suspect.”        Kimmelman v. Morrison,

477 U.S. 365, 374 (1986).      In reviewing a claim of prejudice, the

Court must therefore determine whether the results of the

proceedings were fundamentally unfair or unreliable.          Lockhart v.

Fretwell, 506 U.S. 364, 369 (1993).

                             III.   Analysis

          According to Petitioner, he repeatedly told Anderson

that his only involvement in illegal activity with his co-

conspirators occurred in September 2002, when he traveled to New

York with Calvin Meeks and agreed to purchase two ounces of

cocaine through Meeks for personal use.        Petitioner claims that

he told Anderson that he had no other involvement in the

conspiracy, aside from the two ounces purchased for personal use.

Based on this premise, Petitioner argues that Anderson should

have investigated the availability of a defense against venue in


                                    -5-
 Case 1:04-cr-00073-JCC Document 168 Filed 05/08/06 Page 6 of 10 PageID# 6



the Eastern District of Virginia.        See United States v. Bowens,

224 F.3d 302, 311 (4th Cir. 2000) (holding that a criminal act is

committed, for venue purposes, only where the essential conduct

elements of the offense take place).

          In the Statement of Facts that accompanied Petitioner’s

plea agreement, Petitioner made the following admissions:

     Were this matter to go to trial, the United States of
     America would prove the following facts beyond a
     reasonable doubt:

     1. From in or about September 2002, through in or
     about April 2003, within the Eastern District of
     Virginia, the defendant, LARRY TITTLE, did unlawfully,
     knowingly, and intentionally combine, conspire,
     confederate, and agree with others to unlawfully,
     knowingly, and intentionally distribute five hundred
     (500) grams or more of a mixture and substance
     containing a detectable amount of cocaine, a Schedule
     II controlled substance, in violation of Title 21,
     United States Code, Sections 841(a)(1) and 846.

     2. This Statement of Facts does not contain each and
     every fact known to the defendant and to the United
     States concerning the defendant’s and other’s
     involvement in the charges set forth in the plea
     agreement.

     3. In or about the Summer of 2002, defendant TITTLE
     was introduced to co-conspirator Calvin Meeks by Sean
     Silcox.

     4. On September 11, 2002, TITTLE traveled to New York
     with Calvin Meeks in order to purchase cocaine.

     5. During the conspiracy, defendant TITTLE conspired
     to distribute at least five hundred (500) but less than
     two (2) kilograms of cocaine hydrochloride (Level 26,
     USSG § 2D1.1), which was reasonably foreseeable to him.

(Statement of Facts (emphasis added).)        In his Rule 11 plea

colloquy, Petitioner stated that he read, signed, and understood

                                   -6-
 Case 1:04-cr-00073-JCC Document 168 Filed 05/08/06 Page 7 of 10 PageID# 7



the Statement of Facts.     (Tr. of Oct. 14, 2004 Hr’g at 13.)

Petitioner further stated, under oath, that the Statement of

Facts accurately reflected his conduct in the case, and

Petitioner declined to provide any additions or corrections to

the Statement of Facts.     (Id.)

           It is axiomatic that a defendant charged with

conspiracy may be tried in any jurisdiction where acts in

furtherance of the conspiracy are performed.         See United States

v. Snead, 527 F.2d 590, 591 (4th Cir. 1975).         Although Petitioner

maintains that his only purchase of cocaine occurred in New York,

he admitted to joining a wider conspiracy within the Eastern

District of Virginia.     It is therefore clear that venue was

proper within the Eastern District of Virginia.         For this reason,

Anderson’s alleged failure to inform Petitioner of a venue

defense could not possibly constitute ineffective assistance of

counsel.

           Petitioner also claims that he would not have pleaded

guilty if Anderson had properly informed him that he could only

be sentenced based on conduct that was known or reasonably

foreseeable to Petitioner.      See U.S.S.G. § 1B1.3(a)(1)(B)

(providing that the base offense level must take into account

“all reasonably foreseeable acts and omissions of others in

furtherance of the jointly undertaken criminal activity”).

Petitioner argues that if he had not entered a guilty plea, the


                                    -7-
 Case 1:04-cr-00073-JCC Document 168 Filed 05/08/06 Page 8 of 10 PageID# 8



maximum amount of drugs that could have been attributed to him at

sentencing was three ounces, or approximately eighty-five grams.2

               Once again, Petitioner’s own admissions in his

Statement of Facts foreclose his argument.          Petitioner admitted

specifically to conspiring “to distribute at least five hundred

(500) but less than two (2) kilograms of cocaine hydrochloride

(Level 26, USSG § 2D1.1), which was reasonably foreseeable to

him.”       (Statement of Facts ¶ 5.)   Although Petitioner now argues

that he would not have pleaded guilty and signed the Statement of

Facts if Anderson had advised him regarding his liability for

foreseeable conduct, the Court must nevertheless hold Petitioner

accountable for his own admissions, the truth of which he

affirmed under oath before the Court.

               Petitioner’s § 2255 motion also contains a litany of

other allegations concerning the deficiency of Anderson’s

representation.       Petitioner claims that Anderson failed to inform

him of the elements the Government would be required to prove to

convict Petitioner of conspiracy, that Anderson coercively

induced Petitioner to enter his guilty plea, and that Anderson

implied to Petitioner that he would only be held accountable for

the two ounces of cocaine that he personally used in New York.

Each of Petitioner’s current claims stand in direct contrast to


        2
       This amount takes into account the two ounces of cocaine that
Petitioner purchased from Calvin Meeks for personal use and one additional
ounce of cocaine consumed by Calvin Meeks at the same time.

                                     -8-
 Case 1:04-cr-00073-JCC Document 168 Filed 05/08/06 Page 9 of 10 PageID# 9



his sworn statements to this Court during his Rule 11 plea

colloquy.    During the plea colloquy, Petitioner swore that he had

discussed the nature and elements of the conspiracy offense with

Anderson and that he was satisfied with Anderson’s services as

his lawyer.    (Tr. of Oct. 14, 2004 Hr’g at 5.)       The Court read

the conspiracy charge to Petitioner and informed Petitioner that

the charge contained a five-year mandatory minimum sentence, and

Petitioner stated that he understood.        (Id. at 6.)    The Court

also explained to Petitioner that he could be held liable for the

conduct of his coconspirators, and Petitioner informed the Court

that he had discussed with Anderson his liability for his

coconspirators’ conduct and that he understood.         (Id. at 7-8.)

Petitioner also swore to the Court that he had not been

threatened or forced in any way to plead guilty.          (Id. at 10.)

Finally, the Court warned Petitioner a second time that the

offense listed in his Plea Agreement carried a five-year

mandatory minimum sentence and that Anderson’s estimated sentence

could be too low, and Petitioner affirmed his understanding.

(Id. at 11-13.)

            The Fourth Circuit has instructed that a defendant’s

sworn statements in a Rule 11 colloquy affirming a plea agreement

carry a strong presumption of verity and “present ‘a formidable

barrier in any subsequent collateral proceedings.’”          United




                                   -9-
Case 1:04-cr-00073-JCC Document 168 Filed 05/08/06 Page 10 of 10 PageID# 10



States v. Lemaster, 403 F.3d 216, 221 (4th Cir. 2005) (quoting

United States v. White, 366 F.3d 291, 296 (4th Cir. 2004).

     Thus, in the absence of extraordinary circumstances,
     the truth of sworn statements made during a Rule 11
     colloquy is conclusively established, and a district
     court should, without holding an evidentiary hearing,
     dismiss any § 2255 motion that necessarily relies on
     allegations that contradict the sworn statements.
     Otherwise, a primary virtue of Rule 11 colloquies would
     be eliminated -- "permitting quick disposition of
     baseless collateral attacks."

Id. at 221-22 (quoting Blackledge v. Allison, 431 U.S. 63, 79

n.19 (1977)).   The contradiction between Petitioner’s sworn

statements during his Rule 11 colloquy and the allegations set

forth in Petitioner’s § 2255 motion reveal the latter as patently

frivolous or false.    There being no need for an evidentiary

hearing, the Court will deny Petitioner’s motion.

                            IV.    Conclusion

           For the foregoing reasons, the Court will deny

Petitioner’s § 2255 motion.       An appropriate Order shall issue.




May 8, 2006                         ________________/s/_______________
Alexandria, Virginia                         James C. Cacheris
                                    UNITED STATES DISTRICT COURT JUDGE




                                   -10-
